Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 1 of 70

 

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IN THE UNITED STATES DISTRICT COURT: 3 ga;
FOR THE SOUTHERN DISTRICT OF NEW YORK © an

UNIVERSTTAS EDUCATION, LLC,
Petitioner,

v. 11 CIVEL 1590 (LTS) (HPB)

§
§
§ 11 CIVIL 8726 (LTS) (APB)
§

NOVA GROUP, INC,

Respondent. §

NOTICE OF MOTION TO VACATE PLAINTIFF’S JUDGMENT PURSUANT
TO RULE 60(d)(3) FOR FRAUD ON THE COURT

PLEASE’ TAKE NOTICE that upon the Declaration of Petitioner pro se, Daniel E.
Carpenter, dated February 23, 2021 and all attached exhibits that are accompanying Petitioner’s
Memorandum of Law, the Petitioner will move this Court at a date and time determined by this
Court and pursuant to the Court’s inherent authority under Fed.R.Civ.P. Rule 60(d}(@) and Rule
60(b)(5) to vacate the Turnover Motion and the Clerk’s Judgment of August 7, 2014 (Dkt. #475
in 1590), and to dismiss all of Plaintiff's frivolous and vexatious claims against innocent parties,

and for such other and further relief that this Court deems just and proper.

Dated: February 23, 2021
Respectfully submitted,

/s! Daniel E. Carpenter
Daniel E. Carpenter

Petitioner, pro se
18 Pond Side Lane
West Simsbury, CT 06092

NO ORAL ARGUMENT REQUESTED

on
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 2 of 70

CERTIFICATION

I hereby certify that on this 23rd day of February, 2021 a copy of the foregoing was served
by FedEx to the Clerk of the Court. Notice of this filing was also sent by USPS First Class to
Counsel for Plaintiffs, Attorneys Joseph Manson, Benjamin Chernow, Ilan Markus, and Michael
Caldwell, and Counsel for Judgment Debtor Grist Mill Capital, Roger Stavis and Kevin Brown.

By: /s/ Daniel FE. Carpenter
Daniel E. Carpenter

Petitioner, pro se
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 3 of 70

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

UNIVERSITAS EDUCATION, LLC,
Petitioner,

v. 11 CIVIL 1590 (LTS) CHPB)

11 CIVIL 8726 (LTS) (APB)

NOVA GROUP, INC,
Respondent.

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MEMORANDUM OF LAW IN SUPPORT OF MOTION TO VACATE PLAINTIFF'S
TURNOVER JUDGMENT FOR FRAUD ON THE COURT
PURSUANT TO RULE 60(d)(3)

NO ORAL ARGUMENT REQUESTED
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 4 of 70

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

UNIVERSFTAS EDUCATION, LLC, §
Petitioner, §
§
Vv. § 11 CIVIL 1596 (LTS) (HPB)
§ 11 CIVIL 8726 (LTS) (HPB)
NOVA GROUP, INC, §
Respondent. §

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO VACATE PLAINTIFF'S
TURNOVER JUDGMENT FOR FRAUD ON THE COURT
PURSUANT TO RULE 60(d)(3)

Petitioner pro se Daniel E. Carpenter respectfully submits this Memorandum of Law in
support of his Motion to Vacate the Turnover Motion in the above-captioned case pursuant to this
Court’s inherent authority under Fed.R.Civ.P. Rule 60(d)(3) for Fraud on the Court, and/or in the
alternative, to rule that the Judgment has been paid in full and settled pursuant to Rule 60(b)(5) in

the interests of justice.

NO ORAL ARGUMENT REQUESTED
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 5 of 70

PRELIMINARY STATEMENT

As Tom Cruise, in the role of attorney Mitch McDeere, explained to both the mobsters and
the prosecutors in the film The Firm that an attorney overbilling his clients for frivolous motions
is subject to prosecution under [8 U.S.C. §1349 for Conspiracy to Commit Mail and Wire Fraud:

Mitch McDeere: I got mine, Wayne, you get the rest of them.

Wayne Tarrance: Get 'em with what? Overbilling, mail fraud? Oh, that's exciting.

Mitch McDeere: It's not sexy, but it's got teeth! Ten thousand dollars and five years in

prison. That's ten and five for each act. Have you really looked at that? You've got every

partner in the firm on overbilling. There’s two hundred fifty acts of documented mail fraud
there. That's racketeering! That's minimum one thousand, two hundred fifty years in prison
and half a million dollars in fines. That's more than you had on Capone.

The attorneys for Universitas have for the past year been in a conspiracy with local
attorneys across the country to commit the same mail and wire fraud under 18 U.S.C, §1349 that
the attorneys for the mobsters in The Firm were accused of by excessively billing their clients, and
this Court is being abused the same way. This Court should not countenance these actions by
attorneys Manson and Chernow as they are constantly defrauding the principals of Universitas
through frivolous filings and by threatening sanctions against innocent parties in Massachusetts,
Oklahoma, and especially in Connecticut and this Court. Notably, all of these frivolous and
vexatious actions are against innocent parties in violation of Peacock v. Thomas, 516 U.S. 349
(1996) and six years after the honorable Judge Shira Scheindlin said that any action brought after
October 2012 was untimely and would be barred by the Statute of Limitations.

Moreover, attorneys Manson and Chernow have no problems ignoring the Supreme
Court’s decision for personal jurisdiction in Walden v. Fiore, 571 U.S. 277 (2014), and anyone

who disagrees with them is threatened with sanctions. Every threat of sanctions is an abuse using

this Court’s name and referring to the Clerk’s Judgment, which by its own words is in violation of
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 6 of 70

Rule 58. If this Court recognizes that Universitas has been paid well over $19 million and made
an agreement with Mary Spencer to disclaim all of the Sash Spencer proceeds in exchange for a
contribution for $5 million, then Universitas is certainly being paid more than it is entitled to under
its own agreement. But, if the Court only recognizes the $19 million as being paid, then the only
two judgment debtors left are Petitioner Daniel Carpenter and Grist Mill Capital, which is
represented by counsel. Throughout litigation spanning various states, the attorneys for Universitas
have played fast and loose and have not provided any accounting of what they have been paid, and
in her Affidavit of September 2019, Sharon Siebert says Universitas had only been paid $4 million
but had paid the attorneys $10 million. So, the truth is the principals of Universitas are not being
defrauded by Petitioner, but rather they are being defrauded by their own attorneys who are using
this Court to effectuate their mail and wire fraud conspiracy.

Therefore, this Court should put an end to attorneys Manson and Chernow’s bullying of
attorneys across the country with threats of sanctions in the name of this Court. This Court should
not only put a stop to this by vacating the Turnover Judgment, it should also report attorneys
Manson and Chernow to the local authorities in the Southern District of New York for criminal
prosecution. Clearly they have been in a conspiracy to defraud their clients with attorneys Ilan
Markus and Michael Caldwell in Connecticut, who are also guilty of illegal conduct in overbilling
Universitas for frivolous and vexatious motions. If the Court is interested, Petitioner would be
happy to provide volumes of evidence of the crimes committed by attorneys Manson, Chernow,
Markus, and Caidwell, so that this Court may refer them for disbarment proceedings. But, in any
event, enough is enough, and Judge Scheindlin said that any of the actions after October 2012
should have been time-barred, and clearly the Turnover Action was also barred by Peacock and

the lack of jurisdiction under Walden. Tellingly, this Court denied a motion for the exact same
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 7 of 70

action that attorneys Manson and Chernow brought against innocent parties in Connecticut, and
never once did they explain how they are getting around Peacock or the Statute of Limitations in
Judge Scheindlin’s Order. See this Couri’s Order attached as Exhibit One asking Universitas how
much it has been paid to date, and Judge Scheindlin’s Order of 2015 attached as Exhibit Two.

Most importantly, at the bottom of this Court’s Order, the Court expressed concern that
Universitas had not said how much it has collected thus far, because any party under that amount
should be removed from judgment pursuant to Rule 60(b)(5). Needless to say, the attorneys want
to keep billing their client and bringing false claims against anyone that might have been associated
with Petitioner or GMC. But, their motive is not to collect from the “uncollectable” but rather to
overbill their clients, because as even Judge Scheindlin pointed out, the money from the Charter
Oak Trust was all gone in October of 2009. More than a decade later, attorneys Manson and
Chernow want to keep spending their client’s money by drilling “dry holes,” while at the same
draining their client’s trust account. All of this is easily provable and. Petitioner will expose this
Fraud on the Court with the enclosed Declaration and Exhibits.

Therefore, pursuant to the “One Satisfaction Rule” of Singer v. Olympia Brewing Co., 878
F.2d 596 (2d Cir. 1989), the Petitioner respectfully asks this Court to vacate the Turnover Judgment
for the flagrant Fraud on the Court pursuant to Rule 60(d)(3) by the attorneys for Universitas and
to show that the Judgment has been paid in full pursuant to Rule 60(b)(5) as well as any other relief

that this Court deems proper to protect innocent parties.

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 8 of 70

I. LEGAL STANDARD

Federal Rule of Civil Procedure 60(b) codifies the post-judgment remedies available to a
party seeking relief from a final judgment and specifically contemplates the situation where “the
judgment has been satisfied, released, or discharged.” Fed.R.Civ.P. 60(b)(5). A court may amend
its prior judgment to the extent it “has been satisfied, released, or discharged.” Rule 60(b)(5)
dictates that when one defendant in a multi-defendant action settles, the non-settling defendants
are entitled to credit the amount of the settlement against any remaining judgment. See,
e.g., Gerber v. MTC Elec. Techs. Co., 329 F.3d 297, 303 (2d Cir. 2003) (citing Singer at 600).

Notwithstanding whether a debtor expressly delegates an obligation to a third party, “a
performance rendered by [a] third person that is bargained for and received by [a] claimant in
satisfaction of [a] claim operates as a discharge of the debtor.” 13 Corbin on Contracts §70.6;
accord Mathias v. Jacobs, 238 F Supp.2d 556, 571-72 (S.D.N.Y. 2002) (“[The claimant] is entitled
to the benefit of only one full performance and one satisfaction of a contractual debt; he cannot
collect twice to discharge the same obligation, whether payment is made by the promisor himself,
by a third person, or by both.”). “This common-sense precept of contract law does not require
action by the debtor; if a third party negotiates with an obligee to pay the debt of an obligor, and
the obligee accepts that payment, the obligor's debt is discharged. The obligee, as a matter of law
and equity, is not entitled to double performance on the same contract.” fn re Lehman Brothers
Inc., Debtor, 2016 WL 417594 at *6 (S.D.N.Y. Aug. 8, 2016). Rule 60(b) motions are particularly
ripe for summary judgment when there are no facts in dispute. See, e.g, Okemo Mountain, Inc. y.

U.S. Sporting Clays Ass'n, 376 F.3d 102, 105 Qd Cir. 2004).
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 9 of 70

Il. UNIVERSITAS HAS RECEIVED ABOUT $19,000,000 FROM VARIOUS
DEBTORS

Currently, attorneys Manson and Chernow are suing a dozen innocent parties in
Connecticut, four innocent parties in Oklahoma, and even the non-existent Estate of Jack Robinson
in Massachusetts, despite the fact he died in 2017 without an estate. All of these frivolous and
vexatious actions against innocent parties are using the Clerk’s Judgment and this Court’s name
to extort payments from innocent parties to run up bills from the Manson Attorney Trust Account
after Universitas received $12,000,000 from WSFS/Christiana Bank, the Insurance Trustee of the
Charter Oak Trust. See a copy of the press release from WSFS attached as Exhibit Three. As this
Court knows, Universitas also received $4,487,007.81 from the Grist Mill Trust. See Satisfaction
of Judgment attached as Exhibit Four. Universitas’ attorneys also extorted a payment of
$900,333.61 from BPETCO’s settlement with Merrill Lynch while Petitioner was in prison. See
BPETCO payment attached as Exhibit Five. Attached as Exhibit Six-A is a payment from USAA
for $343,031.52. Attached as Exhibit Six-B shows the Court turning over $450,000 to Universitas
from funds USAA placed in the Court. There are a number of smaller payments made by attorneys
Joe Pastore and Jack Robinson and by the various owners of insurance policies that were held up
by the Universitas Restraining Notices that put the total amount received by Universitas at over
$19,000,000.

But, where did all that money go? According to Sharon Siebert’s September 2019 Affidavit
in suing Jack Robinson’s Estate attached as Exhibit Seven, she says that Universitas had only
received $4,703,621.64 (Exhibit Seven, paragraph 18). She also said that the attorneys had billed
them over $10,000,000 (paragraph 17). (Petitioner wonders who the thief really is in this affair?).
The answer to where all the money went can be found in Attorney Manson’s Interpleader of the

WSFES Funds attached as Exhibit Eight. Of the $12,000,000, $4,000,000 off the top went to

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 10 of 70

Attorney Manson and another $3,800,000 went to Paula Colbath of Loeb & Loeb from the $8
million wired to attorney Manson’s Trust Account. Several Texas attorneys were left to deal with
Universitas over the remaining amount while attorneys Chernow and Manson billed the Attorney
Trust Account for frivolous and vexatious litigation from Oklahoma to Massachusetts.

Attached as Exhibit Nine is an exhibit that the Government produced at Petitioner’s trial
showing that Petitioner intended to pay Universitas $19,800,000. Attached as Exhibit Ten is the
Sash Spencer Beneficiary Designation Form showing Grist Mill Capital, LLC as ALWAYS being
the primary and only beneficiary of the insurance proceeds. This Court never learned about that
because Grist Mill Capital was dismissed as a party to the Arbitration before it began (see Exhibit
Eleven). Similarly, Exhibit Twelve shows Petitioner being dismissed from the Arbitration after it
was over. Exhibit Thirteen is an excerpt from the Motion to Dismiss in Connecticut showing that
Universitas was never a real charity. Finally, Exhibit Fourteen shows that the Widow Mary
Spencer never knew about the insurance policies and/or Universitas.

In fact, the Agreement attached shows that Universitas disclaimed the entire Sash Spencer
death benefit proceeds in exchange for a gift from Mary Spencer in the amount of $5,000,000. All
things considered, Universitas — the fraudulent charity — has been paid in full, and this Court should
put an end to attorneys Manson and Chernow’s Fraud on the Court pursuant to Rule 60(d)(3) by
_ vacating the Turnover Judgment or by issuing a Rule 60(b)(5) order saying that the Turnover
Judgment has been paid in full as to all parties except Petitioner and Grist Mill Capital. Petitioner
expects to be successful on his Rule 60(b)}(4) motion, and believes that Grist Mill Capital will be
successful on its Rule 60(b)(6) motion, so the only thing that this Court needs to do to protect
innocent parties who are not judgment debtors in Connecticut, Massachusetts, and Oklahoma, is

to issue an order pursuant to Rule 60(b){5) in the interests of justice.

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 11 of 70

iii. THE JUDGMENT SHOULD BE VACATED UNDER RULE 60(b)(5) AS THE
JUDGMENT HAS BEEN SATISFIED UNDER THE ONE SATISFACTION
RULE

A non-settling defendant is “entitled to a credit of the settlement amount against any
judgment obtained by the plaintiff against the nonsettling defendant as long as both the settlement
and judgment represent common damages.” Singer at 600; In re Masters Mates & Pilots Pension
Plan, 957 F.2d 1020, 1031 (2d Cir. 1992), and 15 ULS.C. §78u-4(H(7)(B). In such cases, the
Second Circuit has applied a “One Satisfaction Rule” rather than a “proportionate responsibility
rule,” affording a non-settling defendant a reduction equal to the amount of a prior settlement.
Singer at 600. See, also, Inre Facebook, Inc., 674 F, App'x 37, 39-40 Qd Cir. 2016).

A judgment creditor must give nonsettling defendants credit for at least the amount of any
settlement of common damages, because if it did not, plaintiffs could recover from both the settling
and nonsettling defendants for the same damages. "A plaintiff may not recover twice for the same
injury." Phelan v. Local 305, 973 F.2d 1050, 1063 (2d Cir. 1992), citing Ostano Commerzanstalt
v. Telewide Systems, 880 F.2d 642, 649 (2d Cir. 1989) (double recovery puts plaintiffs in better
position than had they not been injured). The “One Satisfaction Rule” also requires that nonsettling
defendants receive credit for any amount actually paid by settling defendants for common
damages. Thus, the Second Circuit has struck down a judgment reduction provision that gave
credit for the lesser of the amount paid or the proportion of fault. Masters Mates at 1031. “Absent
a showing that damages are not common, a nonsettling defendant whose rights against settling
defendants are to be barred is entitled to judgment reduction at least in the amount paid by all

settling parties.” Id.
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 12 of 70

The Second Circuit's “one satisfaction rule ... prohibits a plaintiff from recovering more
than one satisfaction for each injury.” Gerber at 303 (quoting Singer at 600); see also BUC Int'l
Corp. v. Intl Yacht Council Ltd, 517 F.3d 1271, 1277 (Lith Cir. 2008)(“The one-
satisfaction rule ... operates to prevent double recovery, or the overcompensation of a plaintiff for
a single injury.”). The Supreme Court has stated the same: “If two or more defendants jointly cause
harm, each defendant is held liable for the entire amount of the harm; provided, however, that the
plaintiff recover only once for the full amount. See Restatement (Second) of Torts §875 (1977).”
Honeycutt v. United States, 137 8. Ct. 1626, 1631 (2017).

As an example of the “One Satisfaction Rule” in action, the Private Securities Litigation
Reform Act of 1995 (“PSLRA”) specifically requires that nonsettling parties receive a judgment
credit consistent with these common-law requirements. If a covered person enters into a settlement
with the plaintiff prior to final verdict or judgment, the verdict or judgment shall be reduced by the
greater of: (i) an amount that corresponds to the percentage of responsibility of that covered person;
or (ii) the amount paid to the plaintiff by that covered person. §78u-4((7)(B). Thus, the PSLRA
in essence requires that nonsettling defendants receive a judgment credit according to the “capped
proportionate share” formula discussed above. See In re Refco, Inc., 2007 WL 57872, at *2-3
(S.D.N.Y. Jan. 9, 2007). See, also, U.S. Industries, Inc. v. Touche Ross & Co., 854 F.2d at 1236,
1261-62; Harris at 485; Ratner at 803; N.Y.Gen.Oblig.Law §15-108 (McKinney 1989). The rule
has also been approved in the Restatement (Second) of Torts §885(3) (1979).

A series of cases in the Second Circuit have explained that the “One Satisfaction Rule”
requires that nonsettling defendants receive credit for settling defendants’ share of common
damages, that is, damages for which both the settling and nonsettling defendants are responsible.

Settlements have been approved when they provided a judgment reduction formula that gave

10

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 13 of 70

nonsettling defendants credit for the greater of (1) “the settlement amount for common damages,”
or (2) the “proportionate share” of the settling defendants' fault as proven at trial. Gerber at 303.
This “capped proportionate share” formula is acceptable because it “ensures that a judgment credit
is at least the amount of the settlement for common damages” and therefore complies with the one
satisfaction rule. Jd. (emphasis in original). See, also, In re Facebook, Inc., 674 F. App'x 37 Qd
Cir. 2016). In such cases, the Second Circuit has applied a “One Satisfaction Rule” rather than a
“proportionate responsibility rule,” affording a non-settling defendant a reduction equal to the
amount of a prior settlement. /d., quoting Singer at 600.

A payment by any person made in compensation of a claim for a harm for which others are
liable as tortfeasors diminishes the claim against the tortfeasors, at least to the extent of the
payment made, whether or not the person making the payment is liable to the injured person and
whether or not it is so agreed at the time of payment or the payment is made before or after
judgment. Under this rule, when a plaintiff receives a settlement from one defendant, a nonsettling
defendant is entitled to a credit of the settlement amount against any judgment obtained by the
plaintiff against the nonsettling defendant. See, e.g., Hess Oil v. UOP, Inc., 861 F.2d 1197, 1208

(10th Cir. 1988); U.S. Industries at 1236; Restatement (Second) of Torts §885(3), cmts e & f.

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 14 of 70

CONCLUSION

WHEREFORE, Petitioner respectfully requests that this Court grant Petitioner’s Motion to
Vacate Plaintiff's Turnover Judgment due to Fraud on the Court pursuant to the Court’s inherent
authority under Fed.R.Civ.P. Rule 60(d)(3) and Rule 60(b)(5), and to dismiss all of Plaintiffs
frivolous and vexatious claims against innocent parties, and for such other and further relief that

this Court deems just and proper..

Dated: February 23, 2021

Respectfully submitted,

/si Daniel E. Carpenter
Daniel E. Carpenter

Petitioner, pro se
18 Pond Side Lane
West Simsbury, CT 06092

12
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 15 of 70

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK.

UNIVERSITAS EDUCATION, LLC, §
Petitioner, §
§
v. § 11 CIVIL 1590 (LTS) (HPB)
§ 11 CIVIL 8726 (LTS) CHPB)
NOVA GROUP, INC, §
Respondent. §

DECLARATION OF DANIEL E. CARPENTER IN SUPPORT OF PETITIONER’S
MOTION TO VACATE PLAINTIFF’S TURNOVER JUDGMENT FOR FRAUD ON
THE COURT PURSUANT TO RULE 60(d)(3) AND RULE 60(b)(5)

Pursuant to 28 USC §1746, Petitioner Daniel E. Carpenter declares as follows:

I am the Petitioner pro se bringing this Motion to Vacate the Turnover Motion and Clerk’s
Judgment of August 7, 2014 and I submit this Declaration in the hopes that the Court will realize
the attorneys for Universitas are costing innocent parties thousands of dollars in legal fees just so
they can defraud the principals of Universitas in a conspiracy in violation of 18 U.S.C. §1349 to
commit mail and wire fraud using the auspices of this Court to deprive their clients of money and
property by committing a fraud on the Court pursuant to Rule 60(d)(3). This warrants the vacating
of Plaintiffs Judgment pursuant to Rule 60(b)(5) in the interests of justice, as well as the vacating
of their judgments in the above-captioned actions. Attached to this Declaration are true and correct
copies of the following documents:

1, Attached hereto as Exhibit One is a copy of the March 31, 2020 Order from Judge
Swain denying relief to Universitas because she lacked subject matter jurisdiction over the parties

citing the Supreme Court’s decision in Peacock v. Thomas, 516 U.S. 349 (1996).

2, Attached hereto as Exhibit Two is a copy of Judge Scheindlin’s Order in
Universitas Education, LLC, individually and on behalf of the Charter Oak Trust v. TD Bank,

N.A., 2015 WL 9304551 (S.D.N.Y. Dec. 21, 2015).

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 16 of 70

3. Attached hereto as Exhibit Three is a copy of a press release showing WSFS
Bank paying $12 million to Universitas to settle all claims on behalf of Christiana Bank, which
was the Insurance Trustee of the Charter Oak Trust.
4, Attached hereto as Exhibit Four is a copy of the Satisfaction of Judgment for
the payments made from the Grist Mill Trust in the amount of $4,487,007.81.
5. Attached hereto as Exhibit Five is a copy of an email from counsel for
Universitas, acknowledging an amount of $900,333.61 paid to Universitas from BPETCO.
6. Attached hereto as Exhibit Six A is a copy of funds received by Universitas
from USAA for $343,031.52.
7. Attached hereto as Exhibit Six B is a copy of funds received by Universitas
from USAA for $450,000.
8. Attached hereto as Exhibit Seven is a copy of an affidavit submitted by Sharon
Siebert in Universitas v. Jack Robinson, Case No. 15-cy-11848.
9, Attached hereto as Exhibit Eight is a copy of the Motion for Interpleader filed
by Attorney Manson.
10. Attached hereto as Exhibit Nine is a copy of Government Exhibit 2225
showing Dan Carpenter’s Handwritten Calculations.
11. Attached hereto as Exhibit Ten is a copy of the Sash Spencer Beneficiary
Designation Form,
12. Attached hereto as Exhibit Eleven is a copy of the letter dismissing Grist Mill
Capital before the Arbitration action commenced.
(13. Attached hereto as Exhibit Twelve is a copy of the letter dismissing Petitioner

after the Arbitration action concluded.
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 17 of 70

14. Attached hereto as Exhibit Thirteen is a copy of the Motion to Dismiss in front
of Judge Thompson.

15. Attached hereto as Exhibit Fourteen is a copy of the Agreement by and
between Mary Spencer and Universitas showing Universitas disclaiming the insurance

proceeds in exchange for a $5 million contribution from Ms. Spencer.

I declare under the penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed this 23rd day of February, 2021, in West Simsbury, CT.

Respectfully submitted,

/s/ Daniel E, Carpenter
Daniel E. Carpenter

Petitioner, pro se
18 Pond Side Lane
West Simsbury, CT 06092

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 18 of 70

EXHIBIT
ONE

Judge Swain March 31, 2020 Order
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 19 of 70

The following transaction was entered on 4/1/2020 at 9:48 AM EDT and filed on 3/31/2020

Case Name: Universitas Education, LLC v. Nova Group, Inc.
Case Number: 4:11-cv-01590-LTS-HBP
Filer:

WARNING: CASE CLOSED on 06/07/2012
Document Number: 661

Docket Text:

ORDER: The Court has received and reviewed in their entirety Plaintiff's March
23, 2020, letter motions requesting entry of judgment against Moonstone
Partners, LLC, Benistar Admin Services, Inc. {"BASI"), and Molly Carpenter,
(Docket Entry Nos. 658, 659), as well as the March 30, 2020, letter from counsel
for those entities opposing entry of judgment (Docket Entry No. 660), Plaintiff's
letter motions request relief that is not enumerated in NYSD Local Civil Rule
7.1(d), which describes applications which may be brought by letter motion.
Accordingly, the motions are DENIED without prejudice to formal motion practice
in compliance with the relevant federal, local, and individual procedural rules of
Court. Any such motion must address the legal basis, if any, for the Court's
exercise of personal jurisdiction over the non-party entities named in the above-
referenced letter motions, whether such a motion is the appropriate procedural
mechanism by which the Court can enforce its Memorandum Order confirming
the arbitration award in this case (Docket Entry No. 40) against non-parties to the
underlying litigation, and whether such motion practice is consistent with the
limitations of ancillary jurisdiction as described in Peacock v. Thomas, 516 U.S.
349 (1996), and the Court's order interpreting Peacock and denying Plaintiff's
prior turnover motion in this case. See Docket Entry No. 545, Any such motion
must also address the legal and factual basis for the requested judgment amount
in light of any recoveries Plaintiff has already obtained. (Signed by Judge Laura
Taylor Swain on 3/31/2020) (mro)
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 20 of 70

EXHIBIT
TWO

Judge Scheindlin's Order in
Universitas Education, LLC, individually and on behalf of the Charter
Oak Trust v. TD Bank, N.A., 2015 WL 9304551 (S.D.N.Y. Dec. 21, 2015)
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 21 of 70

Universitas Education, LLC v. Bank, Not Reported in Fed. Supp. (2015)
2015 WL 9304551

 

2615 WL 9304551
Only the Westlaw citation is currently available.
United States District Court, §.D. New York.

UNIVERSITAS EDUCATION, LLC, Plaintiff,
Vv.
T.D. BANK, N.A., Defendant.

15-cv-5643 (SAS)

|
Signed 12/21/2015

Attorneys and Law Firms

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E. Napoli, Esq., Napoli Law, PLLC, 1301 Avenue of The Americas, New York, NY 16019, (212) 397-1000, Pani J. Napoli,
Esq., Napoli Bern Ripka & Associates, 350 Fifth Avenue, New York, NY 10118, (212) 267-3700, for Plaintiff.

Jeffrey J. Chapman, Esq., Aaron F, Jaroff, Esq., McGuire Woods LLP, 1345 Avenue of the Americas, 7th Floor, New York,
NY I0105, (212) 548-7060, for Defendant.

MEMORANDUM OPINION AND ORDER

 

SHIRA A, SCHEINDLIN U.S.D.J.

*1 Plaintiff Universitas Education, LLC (“Universitas”) brings this diversity action against defendant T.D. Bank alleging the
aiding and abetting of conversion and related claims stemming from the alleged misappropriation of certain assets by a non-
party actor, using T.D. Bank as its financial institution, Defendant moves to dismiss, arguing that plaintiff's claims are time-
barred, For the following reasons, defendant's motion is GRANTED.

1. BACKGROUND!

On May 15, 2009, the Lincoln National Life Insurance Company issued two checks to the Charter Oak Trust totaling
$30,677,276.85, representing the life insurance proceeds for two life insurance policies issued on the life of Mr. Sash Spencer.”
Mr. Spencer, now deceased, named Universitas as the sole beneficiary of the Charter Oak Trust.? Nova Group, Inc. served as

the trustee.*

Contemporaneous with the Charter Oak Trust's receipt of the life insurance proceeds, Nova Group sought to open a new bank
account for the Trust.” It applied for this account with at least three major banking institutions, and was declined by at least
Bank of America due to Nova Group's failure to satisfy certain due diligence protocols.® T.D. Bank accepted Nova Group's
application, and opened an account for Charter Oak Trust on May 12, 2009,7

On May 20 and May 21, 2009, T.D. Bank accepted applications for and opened business checking accounts for Nova Group and
several related entities.? From May 21, 2009 to October 27, 2009, Nova Group transferred Charter Oak Trust proceeds to and

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 22 of 70

Universitas Education, LLC v. Bank, Not Reported in Fed. Supp. (2015)
2015 WL 9304551

 

between its business checking accounts, and directly withdrew $19.8 million from the Charter Oak Trust account.” Universitas

was aware that Nova Group did not intend to remit the Charter Oak Trust's proceeds to it by October 2009.1°

Plaintiff filed a demand for arbitration against the Nova Group on June 17, 2010.'! The arbitrator awarded plaintiff damages

in the amount of $26,558,308.26 plus interest on January 24, 2011.!* The award was confirmed on June 5, 2012.!3 In the
meantime, T.D. Bank closed all accounts associated with Nova Group, which has yet to pay any of the arbitration award to

plaintiff. 4 On July 17, 2015, plaintiff brought this action against T.D. Bank accusing it of aiding and abetting in this conversion,
and bringing several rejated claims.

If, LEGAL SFANDARD

*2 In deciding a motion to dismiss pursuant to Rule 12(b)(6}, the court must “accept[ ] all factual allegations in the complaint
as true and draw] ] all reasonable inferences in the plaintifi’s favor.”!> The court evaluates the sufficiency of the complaint under
the “two-pronged approach” set forth by the Supreme Court in Ashcroft vu Igbal.!® Under the first prong, a court may “begin
by identifying pleadings that, because they are no more than conclusions, are not entitled to the assumption of truth”)? For
example, “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”!8
Under the second prong of Jgbal, “[w]hen there are well-pleaded factual allegations, a court should assume their veracity and
then determine whether they plausibly give rise to an entitlement for relief.” '? A claim is plausible “when the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”29

Plausibility requires “more than a sheer possibility that a defendant has acted unlawfully.” :

When deciding a 12(b)(6} motion to dismiss, “a district court may consider the facts alleged in the complaint, documents
attached to the complaint as exhibits, and documents incorporated by reference in the complaint”? “ ‘Tit is ‘axiomatic that the

Complaint cannot be amended by briefs in opposition to a motion to dismiss.’ 023

TUL. DISCUSSION
When sitting in diversity, a federal court applies New York's statutes of limitations to state law claims 74 Under New York

law, causes of action accrue at the time and in the place of the injury.> Applying these principles to the instant case, each of
plaintiff's causes of action is time-barred, and must be dismissed.

A. Aiding and Abetting Conversion Claim

Alfegations for conversion, and aiding and abetting of conversion, are subject to a three-year statute of limitations.2° A
conversion occurs when one exercises unauthorized dominion over the property of another to the exclusion of the rights of the

lawful owner’ Here, the alleged conversion took place no later than October 2009, when Nova Group formally refused to remit

the proceeds of the Charter Oak Trust to plaintitr® Thus, plaintiff's conversion claim was time-barred as of October 2012.

B, Fraud Claims
Claims for fraud and the aiding and abetting of fraud are normally governed by New York's six-year statute of limitations.”?
However, a “[c]ourt will not apply the six-year statute of limitations if the claim of fraud is merely incidental to another claim
with a shorter limitations period °°" To determine whether a fraud claim is “merely incidental” to other claims in an action,

courts examine the “gravamen,” or basic essence, of a plaintiff's claims.*! In order to not be “merely incidental,” a fraud claim

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 23 of 70

Universitas Education, LLC v, Bank, Not Reported in Fed. Supp. (2015)
2075 WL 9304551 ,

 

must be distinct from a plaintiff's other claims — it must be a claim in its own right, and not merely recast the same facts as

other claims in order to obtain the benefit of the longer limitations period,

*3 The gravamen of plaintiff's fraud claims are that Nova Group converted Charter Oak Trust funds meant for Universitas,
and that defendant —- by opening accounts and approving transfers between them — aided and abetted in that conversion. The
facts underlying the fraud and conversion claims are the same. The injuries are the same. The relief sought is identical. Both the
fraud and the aiding and abetting fraud claims are identical, for all intents and purposes, to the aiding and abetting conversion

claim, and are merely incidental thereto. “Time barred claims cannot be revitalized by tricks of pleading”;? 3 the six-year statute

of imitations does not apply to plaintiff's claim of aiding and abetting fraud. Plaintiff's claims for fraud and aiding and abetting
fraud are subject to the three-year statute of limitations governing plaintiffs conversion claim, and are time-barred.

C. Fiduciary Duty Claims
New York does not prescribe a statute of limitations for claims based on the breach of a fiduciary duty, and instead determines

the applicable limitations period based on the substantive remedy sou: nt.** Where a plaintiff seeks only money damages -- as
Pp Y Sous, p

is the case here — a three-year statute of limitations applies? For the same reasons described above, plaintiff's claims accrued
in October 2009, and were time-barred as of October 2012.

D. Unjust Enrichment Claim
Claims for unjust enrichment are generally governed by a six-year statute of limitations.*° However, as with claims for fraud

and breach of a fiduciary duty, if an unjust enrichment claim is merely incidental to a claim governed by a shorter statute

of limitations, “the Court will not allow a plaintiff to avail himself of a longer limitations period.” ? Here, plaintiff's unjust
enrichment claim recites the same facts and circumstances as its conversion claim, and is Just as incidental to the conversion
claim as the fraud claims. The three-year statute of limitations therefore applies, and plaintiffs claim was time-barred as of
October 2012.

E. Negligence Claims
New York applies a three-year statute of limitations to all negligence claims, inciuding claims for negligent hiring and negligent

supervision.” 3 As with conversion claims, the limitations period begins to run at the time and place of injury, “even though the

injured party may be ignorant of the existence of the wrong or injury2"*? The injury alleged in support of the negligence claims
is the same injury as alleged for the conversion claim and claims incidental to the conversion. Plaintiff's negligence claims were
therefore time-barred as of October 2012.

F. Racketeer Influenced and Corrupt Organizations Act (“RECO”) Claim
Civil RICO claims are subject to a four-year statute of limitations.” The four-year limitations period begins to rm “upon the

discovery of the injury alone.) As with all of plaintiff s claims, the only injury alleged in plaintiff's civil RICO claim is the
conversion of the Charter Oak Trust funds, of which plaintiff had actual notice in October 2009 when Nova Group formally
denied plaintiff's claim to the trust funds. Plaintiff's civil RICO claim was therefore time-barred as of October 2013.

IV. CONCLUSION
*4 For the foregoing reasons, defendant's motion is GRANTED, The Clerk of the Court is directed to close this motion (Dkt.
No. 12} and this case.

SO ORDERED.

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 24 of 70

Universitas Education, LLC v. Bank, Not Reported in Fed. Supp. (2015)

 

2015 WL 9304551

All Citations

Not Reported in Fed. Supp., 2013 WL 9304551

Footnotes

1 All facts recited herein are taken from the Amended Complaint (“Compl.”) unless otherwise noted.

2 See Compl. 38.

3 See id.

4 See id. 939.

5 See id. 44,

6 See id. 7 45.

7 See id. 4 50.

8 See id. 4 53-54.

9 See id. 957-66.

10 See Petition to Confirm Arbitration Award (“Petition”), Exhibit | to 9/11/15 Declaration of Jeffrey J. Chapman, counsei for defendant,
in Support of Defendant's Motion to Dismiss the Amended Complaint (“Chapman Dec.”) | 7 (“Nova Group formally rejected
Universitas’ claim to the Death Benefit twice, initially in October 2009, and on appeal in February 2010.”); Affidavit of Sharon Sieber,
member of Universitas Education, LLC, Exhibit 4 te Chapman Dec. (9 8-12 (outlining steps taken by plaintiff to secure Charter Oak
‘Trust monies in 2009).

ll See Compl. 4 68.

12 See id. § 70.

13 See id. $7),

14 See id. § 72.

15 Grant v. County of Erie, 542 Fed. App’x 21, 23 (2d Cir, 2013).

16 See 556 U.S, 662, 678-79 (2009),

17 td, at 679.

18 id. at 678 (citation omitted).

19 id, at 679,

20 fd. at 678 (citation omitted).

21 Id. (quotations omitted),

22 DiFaleo v. MSNBC Cable LLC, 622 P3d 104, 11 Qd Cir. 2010) (citing Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir.
2002).

23 Ace Arts, LLC v. Somy/ATV Music Pub, LLC, 56 F. Supp. 3d 436, 451 (S.D.NLY, 2014) (quoting O'Brien v. National Prop. Analysts
Pariners, 719 F.Supp. 222, 229 ($.D.N.Y, 1989)).

24 See, ¢,¢., Thea v. Kleinhandler, No. 14-3201, 2015 WL 6684322, at *4 (2d Cix, Nov. 3, 2015).

25 See id.

26 See N.Y. Civil Practice Law & Rules “C.P.L.R.”) § 21403).

27 See Kirschner v, Bennett, 648 F, Supp. 2d 252, 240 (S.D.N_Y. 2009).

28 See Petition § 7.

29 See N.Y. C.P.L.R. § 213(8).

30 Maimsteen v. Berdon, LLP, 447 F. Supp, 2d 655, 663 (S.D.NLY. 2007).

31 See Marketxt Holdings Corp, v. Engel & Reiman, P.C., 693 F. Supp. 2d 387, 394 (S.D.N_Y. 2010) (holding a fraud claim to be
incidental to related claims where “the gravamen of plaintiff's claims is that [defendant] stole funds from [plaintiff], not that he lied
about doing so”).

32 See Midwest Mem'l Grp., LLC v. International Fund Servs. Hreland) Lid, No, 10 Civ, 8860, 2011 WL 4916407, at *5 (S.D.N.Y.
Oct. 17, 2011).

33 id.

34 See Ciccone v. Hersh, 530 F. Supp. 2d 574, 579 (S.D.N.Y, 2008).

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 25 of 70

Universitas Education, LLC v. Bank, Not Reported in Fed. Supp. (2075)

 

2015 WL 9304551

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. 37

See Independent Order of Foresters v. Donald, Lafkin & Jenrette, Inc., 157 F.3d 933, 942 (2d Cir. 1998). Claims for breach of a
fiduciary duty based on allegations of fraud may be subject to a six-year statute of limitation, but only in instances where the fraud
is not incidental to another claim. See Marketxt, 693 F, Supp. 2d at 398. As described above, plaintiffs fraud claims are incidental
to its conversion claim, and the three-year statute of limitations applies.

 

36 See NLY. CPLR. § 213¢1).
Maimsieen, 447 F. Supp. 2d at 667.

38 See N.Y. C.P.L.R. § 214(4); Coleman & Co, Sec,, Inc, v. Giaquinto Family Tr, 236 F. Supp. 2d 288, 299, 303 (S.D.N.Y. 2002).

39 Fritzhand v. Discover Fin. Servs., inc,, 800 'N.Y.S. 2d 319, 319 (Sup. Ct. Nassau Co, 2005). Accord Midwest Mem'l Grp., 2011 WL
4916407, at *3 (holding that New York “does not apply a ‘discovery rule’ to extend accrual [of a claira] until a plaintiff discovers
that injury”).

40 See Rotella v. Wood, §28 U.S. 549, 552 (2000).

4} Koch v. Christie's Int'l PLC, 699 F.3d 141, 150 Qd Cir. 2012).

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 26 of 70

EXHIBIT
THREE

WSIS Pays $12 Million to Universitas for
Christiana Bank being Insurance Trustee of
Charter Oak Trust
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 27 of 70

 

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Press Release

Feb 27, 2018

WSFS Reaches Settlement with Universitas Education, LLC

WILMINGTON, Del, Feb. 27, 2018 (GLOBE NEWSWIRE) — WSFS Financial Corporation (NASDAG:WSFS), the parent company of WSFS Bank,
announced today that it has entered inte a settlement agreement with Universitas Education, LLC (Universitas), to resolve claims related to
services provided by Christiana Bank & Trust Company (Christiana Trust} prior to WSFS’ acquisition of Christiana Trust in December 2010. WSFS
previously disclosed the claims in its quarterly filings on Forms 10-Q in 2017.

The claims relate to Christiana Trust's role as “insurance trustee” of the Charter Oak Trust Weifare Benefit Plan (Charter Oak), and Universitas’
alleged loss after funds fram certain life insurance benefits were misappropriated by certain individuals unaffiliated with Christiana Trust or WSFS.
Universitas sought damages in excess of $54.0 million.

WSFS settled the case for $12.0 million to avoid the uncertainties of arbitration and to end the expense of ongoing litigation. Separately, WSFS will
pursue all of its rights and remedies to recover this settlement payment and ail related costs, including by enforcing the indemnity right in the 2010
Stock Purchase Agreement by which WSFS acquired Christiana Trust. Additionally, WSFS has already taken measures to recover expenses from
verious insurance carriers. WSFS intends to pursue all claims it has for fuil restitution for this settlement.

“We are pleased to have reached an agreement on this years-oid matter involving events alleged to have occurred prior to WSFS’ acquisition of
Christiana Trust,” said Rodger Levenson, Executive Vice President and Chief Operating Officer, WSFS Bank. “With this agreement completed, we
will focus on pursuing a full reimbursement for these costs.”

 

The settlement for $12.0 million requires WSFS to update Its previously reported fourth quarter 2617 earings, reducing reported after-tax earnings 5
by approximately $9.3 million, or $0.29 per share for the fourth quarter. The settlement will be reflected in the upcoming filing of our 2017 Form 10- :
K =
About WSFS Financial Corporation

WSFS Financial Corporation is a mutti-billion doilar financial services company, fts primary subsidiary, WSFS Bank, is the oldest and largest locally-

managed bank and trust company headquartered in Delaware and the Delaware Valley, As of December 31, 2017, WSFS Financial Corporation had

$7.0 billion In assets on Its balance sheet and $18.9 billion in assets under management and administration, WSFS operates from 76 offices Jacated

in Delaware (46}, Pennsylvania (28), Virginia (1) and Nevada (1) and prevides comprehensive financial services including commercial banking, retail

banking, cash management and trust and wealth management. Other subsidiaries or divisions include Christiane Trust, WSFS Weaith Investments,

Cypress Capital Management, LLC, West Canital Management, Powdermill Financial Solutions, Cash Connect®, WSFS Mortgage and Arrow Land

Transfer, Serving the Delaware Valley since 1832, WSFS Bank Is one of the ten oldest banks in the United States continuously operating under the

same name, For more information, please visit wsfsbank.com.

Investor ContactDominic C. Canusa
302-571-6833
dcanusa@wsfsbank.cam

Media Contact: Jimmy A. Hernandez
302-571-5254
Jhemandez@wsfsbank.com

WSFS2:..
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 28 of 70

EXHIBIT
FOUR

Satisfaction of Judgment for the Grist
Mill Trust in the Amount of $4,487,007.81
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 29 of 70
Case 1:11-cv-01590-LTS-HBP Document 651 Filed 06/19/18 Page 1 of 2

 
    
  
 

DOCUMENT
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

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DATE FILED: (Al /Gl¢
UNIVERSITAS EDUCATION, LLC, —————— ep: ALLS
Plaintiff, > No. 11-CV-01590 (LTS)(HBP)
-against-
: SATISFACTION OF JUDGMENT
NOVA GROUP, INC., : ONLY AS TO JUDGMENT DEBTOR
: GRIST MILL TRUST WELFARE
Defendants. : BENEFIT PLAN
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WHEREAS, a Judgment was entered in the above action on August 12, 2014 in favor of
Judgment Creditor UNIVERSITAS EDUCATION LLC (“Universitas”) and against Judgment
Debtor Grist Mill Trust Welfare Benefit Plan (“GMT”), in the amount of $4,487,007.81 (the
“GMT Judgment”), and said GMT Judgment having been fully paid; and it is certified that there
are no outstanding executions with any Sheriff or Marshall as to said GMT Judgment; and

WHEREAS, to the extent Universitas issued restraining notices to third party garnishees
directed at the assets of Judgment Debtor GMT, such restraining notices are hereby immediately
lifted, but only insofar as such restraining notices related to the assets of GMT. All restraming
notices served by Universitas to third-party garnishees remain in full force and effect as to
all Judgment Debtors, except GMT.

THEREFORE, full and complete satisfaction of said GMT Judgment is hereby
acknowledged, and the Clerk of the Court is hereby authorized and directed to make an entry of
the full and complete satisfaction on the docket of ONLY said GMT Judgment.

Dated: June 19, 2018
New York, New York :
LOEB & LORB LLP.

/ _
: /
Paula K. Colbath™

345 Park Avenue
New York, New York 10154

By

 

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 30 of 70
Case 1:11-cv-01590-LTS-HBP Document 651 Filed 06/19/18 Page 2 of 2

STATE OF NEW YORK -
} 88.
COUNTY OF NEW YORK }

On the 19th day of June, 2018, before me personally came Paula kK. Colbath, to me.
known and known to be a member of the law finn of Loeb & Loeb LLP, attorneys for
Universitas Education, LLC in the above entitled action, and to be the same person described in
and who executed the within satisfaction of judgment and acknowledged to me that she executed

the same.
(— opt wukt.. [epyoe

Notary Public

ANTOINETTE PEPPER
Notary Public, State of Naw York
No, O1PE4879833

Qualified In Nessau County
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Coramission Expires January 7, 2018

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 31 of 70

EXHIBIT
FIVE

Email Showing Universitas Receipt of
$900,333.61 from BPETCO
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 32 of 70

From: Paul S Samson [mailto: PSamson@riemerlaw.com]

Sent: Monday, December 28, 2015 5:30 PM

To: Elkind, Thomas I.; Tony Zelle (tzelle@zelmcd.com); tevans@zelmed.com; ‘Paula Colbath' (pcolbath@loeb.com)
(pcolbath@loeb.com); Lindsay Feuer (lfeuer@loeb.com) (ieuer@loeb.com)

Subject: RE: Satisfaction of Judgment

Universitas has been paid $900,333.06 as a result of the settlement and that amount will be credited against the
Universitas judgment against Mr. Carpenter in accordance with Universitas’ agreement with BPETCO and Mr.
Carpenter.

Regards, have a happy and healthy New Year. Paul.

Paul S. Samson
(admitted in MA and NY)
Riemer & Braunstein LLP

psamson@riemerlaw.com

From: TElkind@foley.com [mailto:TElkind@foley.com)
Sent: Monday, December 28, 2015 5:25 PM
To: Tony Zelle (tzelle@zelmcd.com); tevans@zelmcd.com; Paul S Samson; ‘Paula Colbath’ (pcolbath@loeb.com)

({pcolbath@loeb.com); Lindsay Feuer (feuer@loeb.com) (lfeuer@loeb.com)
Subject: Satisfaction of Judgment

Counsel:

Attached is a copy of the Satisfaction of Judgment that was filed today in the original Cahaly action
pursuant to Section 11 of the Release and Settlement Agreement.

The settlement between the Cahalys and BPETCO has now been completed. The settlement
documents have all been signed and the $125,000 payment from BPETCO has been wired to counsel for the

Cahalys.

Please let me know the total amount that is paid to Universitas, including interest, pursuant to its
settlement with the Cahalys, as this is the amount that will be credited against the judgment held by Universitas
against Dan Carpenter and others.

Thank you for your cooperation regarding this matter.
Regards,

Thomas I. Elkind

Foley & Lardner LLP
111 Huntington Avenue
Boston, MA 02199

Tel: 617-342-4010

_ Fax: 617-342-4001
telkind@foley.com

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 33 of 70

EXHIBIT
SIX-A

Funds Received by Universitas from USAA
in the amount of $343,031.52
Case 1:11-cv-01590-LTS-HBP
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POL HOLDER: DANIEL E CARPENTER
LOB/CLAIM NR: FL / 900060
LOSS DATE 10/29/12
UNIT; GO962

Document 700 Filed 02/26/21 Page 34 of 70

CHECK NR; Sb-UUYZHU4ES

PAYEE: LOEB & LOEB, ATTORNEY TRUST
USAA DATE: 12/04/13

USAA REP: 90050

 

EXPLANATION OF PAYMENT AMOUNT

 

PAYMENT C

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ATTN:

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TOTAL PAYMENT AMOUNT $155 , 782.92

 

 

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Universitas 000004

 

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 35 of 70

USAA NR 00166-95-36 CHECK NA: 35-00928130 XEKEXE
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LOSS DATE: 10/29/12 USAA REP: 90050
UNIT: OOS62

 

UNITED SERVICES AUTOMOBILE ASSOCIATION
PO 80x 33490
SAN ANTONIG, TX 74265

 

 

 

 

 

 

EXPLANATION OF PAYMENT AMOUNT
FLOOD BUILDING
PAYMENT
C/O ABRAMS, GORELICK
F IEDMAN
ATTN:
MICHAEL GORELICK
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pn TOTAL: PAYMENT AMOUNT $187,248.60

 

 

 

 

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POLICYHOLDER
336] DANIEL E CARPENTER

  

 

 

 

 

ATTORNEY TRUST AC
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Universitas 000005

 
   
 
   
     
   

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 36 of 70

EXHIBIT
SIX-B

Funds Received by Universitas from USAA
in the amount of $450,000
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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 37 of 70

‘Case 1:11-cv-01590-LTS-HBP Document 249 Filed 05/20/13 Page 1 of 124 1
D59FUNTH Hearing

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNIVERSITAS EDUCATION, LLC,
Plaintiff,
Vv. 41 cv 1590 (LTS)
NOVA GROUP, INC. et al,
Defendants.
New York, N.Y.
May 9, 2013
9:30 a.m.

Before:
HON. LAURA TAYLOR SWAIN,

District Judge
APPERARANCES
LOEB & LOEB LLP
Attorneys for Plaintiff
PAULA K. COLBATH, ESQ.

BRYAN I. REYHANT, ESO.
Attorney for Plaintiff

ANTHONY J. SIANG, ESO.
LLP

HALLCRAN & SAGE LLP
Attorneys for Defendant M. Carpenter
DAN E. LaBELLE, ESQ.

BRIEF CARMEN & KLEIMAN, LLP
Attorneys for Defendant Nova Group
IRA KLEIMAN, ESO.

CAROLE R. BERNSTEIN, ESQ.
Attorney for Defendant Grist Mill Capital

ABRAMS, GORELICK, FRIEDMAN & JACOBSON, LLP
Attorneys for Defendant USAA
ALEXANDRA E. RIGNEY, ESC.

 

SCUTHERN DISTRICT REPORTERS, P.C.
{212) 805-0300

Attorney for Defendant DBD. Carpenter and Moonstone Partners

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 38 of 70

Case 1:11-cv-01590-LTS-HBP Document 249 Filed 05/20/13 Page 6 of 124 6
D59FUNIB Hearing

Trust to purchase of this home.

So the relief that we seek here is we would like the
insurance proceeds and we were told before we filed this
application, we were told by USAA, the casualty insurer
involved, that they were imminently ready to pay approximately
$456,000 to Moonstone Partners LLC and Mr. Carpenter who owned
the property in South Kingstown. We also seek a turnover of
that property, the ownership of that property to our client
Since our client's funds were used to purchase it.

Since the claim, at Mr. Carpenter's deposition he
advised us that he had not officially filed a claim for damage
yet. We would also ask that that claim be assigned to
Universitas so we could step into his shoes and have direct
contact with the carrier in resolving that claim.

THE COURT: Now, the order to show cause that I signed
referred to insurance proceeds in connection with, quote, "any
structure or property owned at any point in time by Moonstone,
Daniel Carpenter and/or Molly Carpenter or any entity cwned by
the Carpenters including any properties at a Cards Pond Road
address in South Kingstown, Rhode Island and it seeks a
constructive trust on such insurance proceeds in Universitas'
favor. So this is the first I'm hearing of a request that this
Court also order turnover of real property or an assignment of
the claim.

MS. COLBATH: Your Honor, I believe the TRO that you

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

 

 
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 39 of 70

EXHIBIT
SEVEN

Sharon Siebert Affidavit of September 2019
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 40 of 70
Case 1:15-cv-11848-DPW Document174 Filed 09/06/19 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSSETTS

 

UNIVERSITAS EDUCATION, LLC

Plaintiff, Civil Action No.
1:15-CV-11848 (PW)
Vv.

JACK E. ROBINSON, III a/k/a JACK E.
ROBINSON,

Defendant.

 

 

AFFIDAVIT OF SHARON E, SIEBERT
SHARON E. SIEBERT, wader penalty of perjury, declares and says as follows:

1, My name is Sharon E, Siebert, and J am a founder and member of Universitas
Education, LLC (“Universitas”). I have personal knowledge of the facts set forth herein.

2, Universitas is a Delaware limited liability company, with its headquarters at 404
East 55% Street, Apartment 134, New York, New York 10022.

3, Universitas was previously the research and development ann of the now-defunct
Destination Foundation Universitas (“Destination Universitas”).

4, Destination Universitas was a charitable foundation based in New York.
Destination Universitas had its charitable designation administratively revoked because
Universitas was unable to continue to fund it. Universitas’s hardships were a direct result of the
costly litigation efforts to enforce Universitas’ judgment against the Charter Oak Trust and Nova
Group.

5. Universitas aims to develop and provide programs for leaders and educators around

the world to support global philanthropic and humanitarian efforts.

 
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 41 of 70
Case 1:15-cv-11848-DPW Document 174 Filed 09/06/19 Page 2 of 4

6, Universitas is operated by myself and my colleague, Donna Vassar.

7. Ms, Vassar and I are Universitas’ only members.

8. In 2007, Universitas had negotiated for, and had prepared a letter of intent for the
purchase of land for the development of a sanctuary on 69.59 acres in Lake Las Vegas, Nevada,
for global leaders to gather and recharge during multi-day retreats.

9. Universitas bad discussed the purchase of the Lake Las Vegas property, solicited
and selected a design proposal, completed a strategic development plan, and. was in the process of
finalizing proposals.

10. One contributor to the project was Mr. Sash. Spencer. Mr. Spencer chaired a private
investment: fiom and was a financial partner to Universitas and Destination Universitas. Mr.
Spencer died unexpectedly in June 2008. Prior to his death, he named Universitas the sole
ierevocable beneficiary of two life insurance policies worth $30,000,000.

11. Universitas has still not obtained the life insurance proceeds that Mr. Spencer
endowed it.

12. Treceived and reviewed the correspondence from Jack E. Robinson, Wayne Bursey,
and others sent on bebalf of the Charter Oak Trust (“COT”) and its affiliates. I discussed these

; communications with Universitas’ various representatives, including its attommey when
appropriate.

13. I initially believed that COT’s accurately conveyed the provisions of the COT
Declaration -of Trust and would abide by the provisions thereof, [ believed that the COT
Declaration of Trust as amended in January 2007 included a provision within Section 6.01 that
allowed COT to retain twenty percent of the death benefits of a participant who dies while

participating in COT. However, I did not believe that the provision applied to Universitas’

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 42 of 70
Case 1:15-cv-11848-DPW Document 174 Filed 09/06/19 Page 3 of 4

circumstances because Mr. Spencer enrolled in COT prior to this alleged amendment, and COT
never notified myself or anybody else about this alleged change in the Trust document.

14. Universitas also undertook the arbitration, against COT and its affiliates in good
faith. Universitas relied upon Mr. Bursey’s affidavit and Mr. Robinson’s declaration asserting that
COT had the assets to satisfy a judgement against it. Had I known that the proceeds from Mr.

"Spencer’s life insurance proceeds had already been disbursed and spent on things such as a
vacation home for Daniel Carpenter, Universitas would have altered its litigation strategy and
would likely have sought civil remedies agninst Carpenter and his affiliates sooner, Universitas
likewise would have adopted a muuch different litigation strategy had I known that the money in
dispute had been improperly conveyed and used for criminal purposes. Instead, the
misrepresentations and continuing bad faith by Robinson (before his death), Carpenter, and the
rest of their affiliates have forced us to engage in protracted litigation that eventually contributed
to the dissolution of Destination Universitas.

15. The arbitration awarded Universitas a judgment against COT and its trustee, Nova
Group, Inc. for $26,525,535.98.! Universitas’ received this award on January 24, 2011, and the
award remains largely unsatisfied.

16. Universitas’ effort to enforce its judgement has caused Universitas to become
involved in numerous cases across the country. Attached as Exhibit A is a list of cases wherein
Universitas has made filings concerning its award.

17. The cost of this litigation has been high. To date, Universitas been billed for legal

fees in excess of $10,000,000.

 

' This award was broadened during the subsequent litigation to confirm and enforce the award. The court provided
Universitas with a money judgment on August 7, 2014. The money judgment is for $3 0,181,880.30, to account for
interest o0 the unpaid judgment. The judgment is also enforceable against Daniel Carpenter and some of his
companies, in addition to the original judgment debtors.

 
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 43 of 70
Case 1:15-cv-11848-DPW Document174 Filed 09/06/19 Page 4 of 4

18. The judgment debtors and their affiliates have been recalcitrant and obstructive. To
date, Universitas bas recovered only $4,703,621.64 of its $30,181,880.30 judgment.

19. The judgment debtors’ refusal to satisfy Universitas’ judgment has caused
Universitas hardship. Universitas has had difficulty paying the excessive legal fees accrued in
trying to recover the proceeds from the Spencer policies, and this has led to disputes with former

counsel regarding fees.

Dated: New-¥otR, New-¥otk lat bob beak tha:

September fy 201 Y \g /
Sharon &. Siebert

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Notary Public

 
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 44 of 70

EXHIBIT
EIGHT

Attorney Manson Motion for Interpleader
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 45 of 70
Case 1:18-cv-00219-CMH-JFA Document 29 Filed 05/23/18 Page 1 of 8 PagelD# 101

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

Alexandria Division
JOSEPH L. MANSON IIT, }
d/b/a LAW OFFICES OF }
JOSEPH L. MANSON III )
)
Plaintiff/Stakeholder, )
)
¥. ) CA No. 1:18-cv-219-CMH/JFA
)
UNIVERSITAS EDUCATION, LLC, et al.)
)
Defendants/Claimants. )
}

 

FIRST AMENDED COMPLAINT FOR INTERPLEADER

Interpleader-Plaintiff Joseph L. Manson, III, d/b/a Law Offices of Joseph L.
Manson III, by and through counsel, pursuant to F.R.Civ.P. 15(a)(1)(B)', files this First
Amended Complaint for Interpleader against Interpleader-Defendants Universitas
Education, LLC (“Universitas”); Loeb & Loeb, LLP (“Loeb”); Sturm Law PLLC
(“Sturm”); and Lang & Associates, PLLC (“Lang”). This Complaint for Interpleader is
brought pursuant to Rule 22 of the Federal Rules of Civil Procedure, and, in the
alternative, pursuant to 28 U.S.C, § 1335. |

As and for his Complaint, Interpleader-Plaintiff pleads as follows:

1 Interpleader-Plaintiff is an attorney doing business as the Law Offices of

Joseph L. Manson II. He is a citizen of Virginia.

 

1 Rule 15(a)(1)(B) allows a party to amend a pleading within 21 days after service ofa
responsive pleading or Rule 12 motion. All defendants except Sturm filed answers on
May 18, 2018, and Sturm filed a Rule 12 motion on that same date. Accordingly, this
amendment is timely and filed as a matter of right.
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 46 of 70
Case 1:18-cv-00219-CMH-JFA Document 29 Filed 05/23/18 Page 2 of 8 PagelD# 102

2. Universitas is a Delaware limited liability company with its principal place
of business in New York. Its only members, Sharon Siebert and Donna Vassar, are both
citizens of New York.

3. Loeb is a law firm and a California limited liability partnership. Upon
information and belief at the time of the filing of the original complaint, Plaintiff
understood Loeb’s partners to be citizens of California, Illinois, New York, Tennessee,
and Washington, D.C. Loeb has denied these allegations in its Answer to the original
Complaint, but has not specified on what grounds.

4. Sturm is a law firm and a Texas professional limited liability company
located at 712 Main Street, Suite 900, Houston, Texas 77002. Upon information and
belief, Sturm’s sole member, Charles A. Sturm, is a citizen of Texas.

5, Lang is a law firm and a Texas professional limited liability company
located at 440 Louisiana Street, Suite 900, Houston, Texas 77002. Upon information and
belief, all Lang’s members, including Shannon A. Lang, are citizens of Texas.

6. Universitas is the beneficiary of the proceeds of two life insurance policies
issued by Lincoln Life Insurance Company (“Lincoln”) on the life of Sash A. Spencer.
The Charter Oak Trust (the “COT”) was the beneficiary of the Spencer policies, which
were held in the COT. |

7. Mr. Spencer died in June of 2008. In May of 2009, Lincoln paid the
Spencer policy proceeds, plus interest, to the COT. The COT denied Untversitas’s claims
to the proceeds.

8. Universitas subsequently commenced an arbitration against Nova Group,

Inc. (“Nova”), the Named Trustee of the COT.
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 47 of 70

Case 1:18-cv-00219-CMH-JFA Document 29 Filed 05/23/18 Page 3 of 8 PagelD# 103

9. Universitas obtained an arbitration award against Nova, which was
confirmed by the United States District Court for the Southern District of New York,
Case No. 1:1 1-cv-01590-LTS-HBP. Nova failed to pay the award, prompting Universitas
to engage in collection efforts. Universitas was represented by Loeb in the arbitration
against Nova and in the related collection efforts.

10. Onor about April 6, 2015, Universitas also commenced arbitration against
Wilmington Savings Fund Society, FSB (“WSFS”), the Insurance Trustee of the COT,
with the American Arbitration Association, Case No. 01-15-003-1194 (the “Arbitration”).
At the time, Universitas was represented by Shannon A. Lang and Charles A. Sturm.
Universitas subsequently terminated that representation and engaged the Law Offices of
Joseph L. Manson II,

il. On or about February 26, 2018, Universitas and WSFS reached a full and
final settlement of the Arbitration. Universitas agreed to dismiss its claims against with
WSES with prejudice in exchange for, among other things, compensation in the amount
of Twelve Million Dollars ($12,000,000.00 USD).

12. As described therein, the Settlement Agreement required WSFS to wire
the sum of Eight Million Dollars (the “Settlement Payment”) to an escrow account at
Branch Bank & Trust in the name of Interpleader-Plaintiff (Account Number

0000258221575, the “Escrow Account”).?

 

* The Settlement Agreement also required WSFS to wire the additional sum of Four
Million Dollars ($4,000,000.000), which constitute Interpleader-Plaintiff’s attorneys’ fees
for representing Universitas in the Arbitration, to a trust account in the name of
Interpleader-Plaintiff. These funds are not the subject of this dispute.

3
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 48 of 70

Case 1:18-cv-00219-CMH-JFA Document 29 Filed 05/23/18 Page 4 of 8 PagelD# 104

13. Within two days of receiving the Settlement Payment to the Escrow
Account, the Settlement Agreement required Interpleader-Plaintiff to commence this
interpleader action naming all lienholders who may have a claim to any portion of the
Settlement Payment.

14. All Defendants have asserted a claim to some portion of the Settlement
Payment funds.

15. Sturm has claimed an attorneys’ lien against 35% of the proceeds, if any,
recovered in the Arbitration. As alleged by Sturm, Sturm’s claim to the Settlement
Payment amounts to $4,200,000.00.

16. Loeb has also asserted a claim to the Settlement Payment. As alleged by
Loeb, Loeb’s claim to the Settlement Payment amounts to at least $4,109,906.52.

17. Lang has asserted a claim to the proceeds, if any, recovered in the
Arbitration. On information and belief, Lang’s alleged claim to the Settlement Payment
amounts to at least $200,000.00.

18. On information and belief, Universitas also has a substantial claim to the
Settlement Payment.

19. Pursuant to the Settlement Agreement, on February 27, 2018, the
Settlement Payment was wired to the Escrow Account.

20. Pursuant to the Settlement Agreement, and because Interpleader-Plaintiff
reasonably believes that the competing claims for payment exceed the amount of the
Settlement Payment, Interpleader-Plaintiff brings this Complaint for Interpleader.

21, —Interpleader-Plaintiff believes that Interpleader-Defendants’ collective

claims exceed the Settlement Payment, so that any attempt to make payment may result
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 49 of 70
Case 1:18-cv-00219-CMH-JFA Document 29 Filed 05/23/18 Page 5 of 8 PagelD# 105

in multiple litigation and expose Interpleader-Plaintiff to conflicting and multiple
liabilities.

22. — Interpleader-Plaintiff is neutral regarding each party’s entitlement to the
Settlement Payment, including the entitlement of the Interpleader-Defendants, and
therefore seeks discharge from this action and from any liability with respect to the
Settlement Payment.

COUNT I
(Rule Interpleader Pursuant To F.R.Civ.P. 22)

23. Interpleader-Plaintiff incorporates the allegations of Paragraphs 1 through
22 above.

24. Inthe event that there are no Interpleader-Defendants that are citizens of
Virginia by virtue of the citizenship of one of their members, this Court has jurisdiction
pursuant to 28 U.S.C. § 1332, as there is complete diversity between the Interpleader-
Plaintiff and the various Interpleader-Defendants, and the amount in controversy exceeds
$75,000.

25. | Venue is proper under 28 U.S.C. § 1391, because the property that is the
subject of this dispute, the Settlement Payment, is situated in Interpleader-Plaintiff’s

escrow account in the City of Alexandria in this judicial district.

COUNT Ii
(Statutory Interpleader Pursuant To 28 U.S.C § 1335)

26. Pleading in the alternative, Interpleader-Plaintiff incorporates the

allegations of Paragraphs | through 22 above.
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 50 of 70
Case 1:18-cv-00219-CMH-JFA Document 29 Filed 05/23/18 Page 6 of 8 PagelD# 106

27. There are two or more adverse claimants of diverse citizenship who are
claiming or may claim to be entitled to the Settlement Payment, which exceeds $500 in
value.

28. This Court has jurisdiction pursuant to 28 U.S.C. § 1335, which requires
only diversity between any two of the Interpleader-Defendants (which exists, for
example, between Universitas, a citizen of New York, and Lang, a citizen of Texas).

29. In the event that an Interpleader-Defendant, such as Loeb, is a citizen of
Virginia by virtue of the citizenship of one of its members, then a claimant resides in this
district, and this matter may be brought in this court under 28 U.S.C. § 1379.

30. Interpleader-Plaintiff prays the Court issue an Order granting leave to
deposit the entirety of the Settlement Payment pursuant to 28 U.S.C § 1335, amounting to
$8,000,000.00, into the registry of the Court.

PRAYER FOR RELIEF

WHEREFORE, Interpleader-Plaintiff respectfully requests this Court:

a. issue an Order requiring the Interpleader-Defendants to interplead all of their
claims under or with respect to the Settlement Payment;

b. issue an Order granting the Interpleader-Plaintiff leave to have the entirety of
the Settlement Payment, amounting to $8,000,000.00, deposited into the
registry of the Court, and providing that, upon such deposit, the Interpleader-
Plaintiff and its employees and agents shall be discharged from all lability to
the Interpleader-Defendants under or in connection with the Settlement

Payment;
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 51 of 70
Case 1:18-cv-00219-CMH-JFA Document 29 Filed 05/23/18 Page 7 of 8 PagelD# 107

c. enter a preliminary and permanent injunction enjoining the Interpleader-
Defendants from instituting or prosecuting any action in any court, state or
federal, against the Interpleader-Plaintiff and its agents or employees asserting
any claims, rights, causes of action, or demands of any nature, known or
unknown, under or in connection with the Settlement Payment;

d. enter judgment discharging the Interpleader-Plaintiff and its agents and
employees from all further liability relating in any way to the Settlement
Payment or any demands that may be made in connection with the Settlement
Payment;

e. award to Interpleader-Plaintiff his costs and attorneys’ fees; and

f. grant any further relief as this Court may deem just and proper.

Dated: May 23, 2018

LAW OFFICES OF JOSEPH L. MANSON III
By Counsel

/dib/
David I. Bledsoe
VSB 29826
600 Cameron Street, Suite 203
Alexandria, VA 22314
703-379-9424
703-684-185 1 (fax)

bledsoclaw@earthlink.net
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 52 of 70

EXHIBIT
NINE

Government Exhibit 2225
Carpenter Handwritten Calculations
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 53 of 70

 

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 54 of 70

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 55 of 70

EXHIBIT
TEN

Sash Spencer Beneficiary Designation
Form showing Grist Mill Capital as
Primary Beneficiary
 

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CHARTER OAK TRUST

 

 

Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 56 of 70

 

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ELECTION OF PARTICIPATION &
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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 57 of 70

EXHIBIT
ELEVEN

Letter from Counsel for
Universitas Dismissing Grist Mill
Capital before the Arbitration
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 58 of 70

PAuLa K. COLBATH

 

Partner

345 Park Avenue Direct 212.407,4905

New York, NY 10154 Main 212.407.4000
Fax 212.937.3189
pealbath@loeh,com

Via E-mail

August 19, 2010

Ms. Karen Fontaine

Manager of ADR Services
American Arbitration Association
950 Warren Avenue

East Providence, R} 02914

Re: 13.195 Y 1558 10, Universitas Education, LLC v. Nova Group, Inc., Wayne Bursey,
Benistar Admin. Services, lnc., Donald Trudeau, Grist Mill Capital, LLC and Daniel E.
Carpenter

Dear Ms. Fontaine:

As you know, we represent Universitas Education, LLC ("Universitas") In the above matter.
Pursuant to Rule R-6, Universitas is dropping all claims against and involving Grist Mill Capital
LLC for, among other reasons, no arbitration agreement exists between Universitas and Grist
Mill Capital,

We will be filing an amended statement reflecting this change shortly.

Sincerely, - ,

unio. Collar [se

Paula K. Colbath

Partner

ce! William McGrath, Esq.
Joseph Pastore fll, Esq.
Paul Dehmel, Esq.
Richard S. Order, Esq.

Los Angeles NewYork Chicago Nashville www logl.cor NY859848.1
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A liniized liability parcnership including professional corporations
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 59 of 70

EXHIBIT
TWELVE

Letter from Counsel for Universitas Dismissing
Daniel Carpenter after the Arbitration
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 60 of 70

Case 1:11-cv-01590-LTS Document 15-3 Filed 04/05/11 Page 2 of 8

Pauta K. COLBATH
Partner

; 345 Park Avenue Direct 212.407.4905
; LOEBS 5 New York, N¥ 10154 Main 212.407.4000
, ‘Olas oo Fax = 212.937.3188
ao we Tee pcolbaih@loed.com

 

Via E-mail

March 22, 2011

Peter Altieri, Esq.

Epstein Becker & Green, P.C.
250 Park Avenue, i4th Floor
New York, NY 10177

Re: AAANo., 13.195 ¥ 1558 10 — Universitas Education, LLC v, Nova Group, Ins., et. al.
Dear Arbitrator Altieri:

We write on behalf of Universitas Education, LLC (“Universitas”) to report that Nova Group, Inc.
("Nova Group”) failed to deposit $26,525,535.98 into escrow (by March 19), as required by your
January 24, 2011 Arbitration Award (the "Awara”). We thus request that you begin Phase [I of
the Arbitration,

As you will recall, your Award required Nova Group to “deposit $26,525,535.98 in escrow with
the law firm of Updike Kelly and Spellacy on or before the later of 30 days following the date of
[the] Award or 30 days after determination of any motion for reconsideration under Rule 46.7"
1/24/11 Award at 13. Universitas submitted a motion for reconsideration, that your Honor
denied on February 17, 2047 (Nova Group did not submit a motion for reconsideration). Nova
Group was thus required fo comply with the Award’s escrow deposit requirement by no ater
than March 19, 2011.

Yesterday | wrote to Richard Order, Nova Group's counsel, requesting that he provide me with
documentary proof of Nova Group’s compliance with the escrow deposit provision. 3/21/11 E-
mail from Paula Colbath, attached as Ex. 1. Mr. Order did not provide any proof that the monies
were deposited, as required by the Award,

Pursuant to your Honors Order of December 1, 2010 (attached as Ex. 2), Universitas plans to
contact TD Bank and request the immediate production of the originally subpoenaed documents
for Phase II of this Arbitration.

Further, in view of Nova Group's failure to deposit the required monies into escrow, Universitas
requests that you:

1. Seta date for an Initial Scheduling Conference for Phase Ii of this Arbitration,
in which Universitas will proceed against (a) Benistar Administrative Services,
Inc. (“BAS?”); (b) Nova Benefit Plans, LLC; and (c) Wayne Bursey ("Bursey’).'

 

* Universitas withdraws its arbitration claims against Daniel Carpenter (“Carpenter”) and Donald
Trudeau (“Trudeau”) without prejudice.

Los Angeles New Yark Chicago Nashville wow doebcom

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“AL.
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 61 of 70

Case 1:11-cv-01590-LTS Document 15-3 Filed 04/05/11 Page 3 of 8

Peter Altieri, Esq.
March 22, 2041
Page 2

 

2. Aliow Universitas to submit a Second Amended Statement of Claim against
Nova Group, Inc., BAS!, Bursey and Nova Benefit Plans -- including a claim
of statutory theft under Connecticut law -- within two (2) weeks following the
occurrence of the Initial Scheduling Conference for Phase 1! of this
Arbitration.

3. Determine whether BASI, Nova Benefit Plans and Bursey are bound to
arbitrate (as you will recall, they claim they are not). This issue has already
been fully briefed.? Universitas also requests that your Honor take judicial
notice of the testimony at the December 2010 hearings pertaining to the
activities of BAS|, Nova Benefit Plans and Bursey in administering and
operating the Charter Oak Trust. See pp. 469-479, 484-490, 674-675, 704-
705, 760, 814-815, 830-831 and 1055-1056 of the Hearing Transcript. Should
your Honor require additional briefing on this issue, Universitas would be
happy to supplement its prior submissions.

A. Dismiss Carpenter’s pending motion te strike, which is moct in view of
Universitas’ decision not to proceed against Carpenter in this Arbitration.

5. Authorize Universitas to immediately take the depositions of Nova Group, Inc.
and the Phase |} Parties on Phase || issues.

We are prepared to participate in a telephone conference at your earliest convenience so that
Phase || can begin expeditiously.

Respectfully submitted,
Mi .
Uy

Paula K. Cefbath
Attachments

cc: Richard S$. Order, Esq. {via e-mail w/ attachments)
Joseph M. Pastore IH, Esq. (via e-mail w/ attachments)
Daniel P. Scapellati, Esq. (via email w/ attachments)
Karen Fontaine (AAA) (via e-mail w/ attachments)

 

* Universitas refers your Honor to Respondents’ 10/6/10 Motion to Dismiss; Universitas’
10/15/10 Opposition to Respondents’ Motion to Dismiss; Respondents’ 10/22/10 Reply; and
Universitas’ 12/16/10 Post-Hearing Legal Brief at 35-36,

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 62 of 70

EXHIBIT
THIRTEEN

Motion to Dismiss in front of Judge Thompson
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 63 of 70
Case 3:12-mc-00102-AWT Document 3-1 Filed 07/25/12 Page 1 of 12

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

UNIVERSITAS EDUCATION, LLC,
No.: 12-mce-00102-AWT
Petitioner,

Yr
NOVA GROUP, INC., as Trustee, Sponsor
and Named Fiduciary of the CHARTER OAK. :
TRUST WELFARE BENEFIT PLAN, : JULY 25, 2012

Respondent.

 

MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
FOR LACK OF SUBJECT MATTER JURISDICTION

Pursuant to Fed. R. Civ. P. 12(b)(1) and 28 U.S.C. § 1963, respondents Nova Group, Inc.
(“Nova”) and the Charter Oak Trust Welfare Benefit Plan (“Charter Oak Trust”) hereby submit
this memorandum in support of their motion to dismiss this action for lack of subject matter
jurisdiction.

Subject matter jurisdiction is lacking because petitioner Universitas Education, LLC
(“Universitas”) “jumped the gun” and prematurely and improperly registered a foreign judgment
in this Court in flagrant violation of 28 U.S.C. § 1963. Assuming the action is not dismissed on
this basis alone, the action should be dismissed for the additional reason that the rendering court
lacked subject matter jurisdiction over the original action.

Furthermore, because counsel for Universitas failed to comply with the strict
requirements of 28 U.S.C, § 1963, Nova and the Charter Oak Trust seek an award of their
attorneys’ fees and costs incurred in this action to be paid by counsel for Universitas personally

as required by 28 U.S.C. § 1927.
Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 64 of 70
Case 3:12-mc-00102-AWT Document 3-1 Filed 07/25/12 Page 2 of 12

BACKGROUND

Nova, as the Plan Sponsor and Named Fiduciary of the Charter Oak Trust, denied
Universitas’ claim for death benefits from the Charter Oak Trust. As required by the express
provisions of the Charter Oak Trust, the parties submitted their dispute to binding arbitration.
On January 24, 2011, the arbitrator issued an award (“Award”) finding that Universitas was
entitled to death benefits from the Charter Oak Trust.’

On January 25, 2011, Nova (for and on behalf of the Charter Oak Trust) commenced an
action to vacate the Award in Connecticut state court. Universitas subsequently removed that
action to the District of Connecticut based solely on diversity of citizenship. See Universitas
Education, LLC v. Nova Group, Inc., No. 11-cv-00342-AWT, Dkt. No. 1 (D. Conn. Mar. 3,
2011). In its Notice of Removal, Universitas alleged that Nova is a Delaware corporation with
its principal place of business in Connecticut (meaning that Nova is a citizen of both Delaware
and Connecticut) and that all members of Universitas reside and are domiciled in New York
(meaning that Universitas is a citizen of New York). Id. at 2. However, and not recognized by
the parties at that time, Universitas failed to address the citizenship of the Charter Oak Trust.

On February 11, 2011, Universitas commenced a separate action to confirm the Award in

New York state court. Relying on the representations made by Universitas in its removal papers

 

' Universitas and its affiliate Destination Universitas Foundation both comprise a sham and now
defunct charity, as Universitas has recently admitted that Destination Universitas lost its
501(c)(3) federal tax exempt status. Universitas is headed by the former mistress of decedent
S.A. “Sash” Spencer, a successful hedge fund manager who died unexpectedly in June 2008 at
the time that he was a participant in the Charter Oak Trust. When Mr. Spencer’s widow, Mary
Spencer, discovered that a “charity” operated by her late husband’s mistress was slated to split a
substantial death benefit with Mr. Spencer’s former employer Holding Capital Group, Inc.
(“Holding Capital”), Mary Spencer threatened to sue Universitas, the former mistress, and
Holding Capital. As a result, Mrs. Spencer, Universitas and Holding Capital negotiated a
settlement agreement in July 2008 that they requested the Charter Oak Trust to sign whereby
Mary Spencer would receive the entire death benefit in return for making a comparatively small
“charitable contribution” to Universitas.

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 65 of 70

EXHIBIT |
FOURTEEN

Agreement between Universitas and Mary Spencer

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 66 of 70

DRAFT ~ 7/10/08
SETTLEMENT AGREEMENT AND RELEASES

This SETTLEMENT AGREEMENT AND RELEASES is made as of the _ day of

July, 2008 by and among Mary M. Spencer, residing al 251 Crandon Boulevard, Unit 164, Key
Biscayne, Florida 33149 (“Mary”), Mary M. Spencer as named Executrix of ihe Estate of Sash
A. Spencer (the “Estate”}, Holding Capital Group, Inc., having an office at 630 Third Avenue, q
Floor, New York, New York (“Holding Capital”), Universitas Education, LLC, having an office
c/o Sharon Siebert, 404 Bast 55" Street, Suite 13A, New York, New York (the “Charity”),

Donna Silvo, residing at : , New York, New York, administrator of

 

the charity (“Administrator”), Grist Mill Capital, LLC, having an office at 100 Grist Mill Road,
Simsbury, Connecticut 06070 (“Grist Mill”) and Charter Oak Trust, having an office at 100 Grist

Mill Road, Simsbury, Connecticut 06070 by Wayne Bursey, Trustee (the “Trust”).

A. Background ~ which all parties hereto acknowledge:

L Through the offices of Bruce Mactas, on or about December 22, 2006, life
insurance in the principal arnount of approximately $30,000,000 issued by The Lincoln National
Life Insurance Company (“Lincoln National”) was purchased by the Trust on the life of Holding
Capital’s principal, the late Sash A. Spencer, who passed away on June 10, 2008,

2. The Trust is the owner and beneficiary of those policies (hereinafter the

“Policies”).

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 67 of 70

3, The Charity is the named beneficiary of the Trust in respect of the Policies,
having been so designated by the participant, Sash A. Spencer, for consideration which has been
questioned by Mary and the Estate,

4, Mary, the Estate, the Charity and Holding Capital have settled all such questions
and all differences, and have agreed as follows.

B, Agreement:

1. The designated beneficiary of the Trust shall be “Hofheimer Gartlir & Gross, LLP
as escrow agent” (the “escrow agent”). The parties shall execute and deliver such documentation
as shall be necessary for that purpose, with copies thereof provided to the Trust, An escrow
agreement shall be executed conternporaneously herewith requiring the escrow agent to disburse
such proceeds of the policies as it may receive, only in accordance with this agreement.

2. The net proceeds of the policies shall belong to and be disbursed to Mary subject
to the reductions and offsets set forth in paragraph “3” below.

3. if and only if proceeds of the policies are received in the amount of $30,000,000
(less expenses which had been agreed upon between Holding Capital and Grist Mill and less
reasonable legal and administrative expenses), there shall be paid to the charity the sum of
$5,000,000. As this sum is intended as a charitable contribution by Mary, it is contemplated that
the sum may be disbursed by the escrow agent to Mary with contemporaneous arrangements
satisfactory to the charity for the contribution by Mary of that sum to the charity.

4, Subject to the terms of this agreement, all parties hereto, for themselves and on
behalf of their heirs, successors, members, partners, employees, shareholders, officers, agents,
trustees, beneficiaries, sponsors, administrators, attomeys and assigns, and any others claiming
by, from or through them, hereby release, remise and discharge all other parties, their heirs,

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 68 of 70

successors, employees, agents, assigns and attorneys (together with Amold Broser, Bruce
Mactas, Mactas, Alper Szrolovits, Inc., Arthur M. Michaelson, Esq. and the escrow agent,
hereinafter collectively the “Additional Releasees”), from all claims, demands, causes of action,
damages, judgments and executions which any of them have or may have, known and unknown,
foreseen or unforeseen, in connection with the subject matter of this agreement. The Additional
Releasees and their firms and affiliates shall be jointly and severally fully held harmiess and
indemnified against any and all claims, liabilities and related costs and expenses arising out of
the subject matter of this agreement, such indemnifications to be paid as joint and several
obligations of the recipients of the net proceeds of the policies (as between them, in proportion to
the proceeds received),

5. Each of the parties to this agreement has had access to the advice of counsel in
entering into this agreement, and each of the parties acknowledges that it has received the benefit
of access to such advice or has declined same and requires no further access io counsel incident
to apreeing te being bound by this agreement.

6. Upon the reasonable request of any party hereto, following the date hereof, any
other party hereto will: (a) execute and deliver to the requesting party such other documents,
releases, assignments and other instruments as may be required to give effect to this agreement
and consummate the transactions contemplated hereby; and (b) take all other reasonable actions

to fulfill the intent and purpose of this agreement and the transactions contemplated hereby.

7, This agreement may be executed in counterparts by the parties.
8, This agreement may be modified only in writing signed by the parties to be bound
by such modification.
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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 69 of 70

9. This agreement shall be enforced only in, governed by, and construed in

accordance with, the laws of the State of New York. The undersigned hereby consents fo the —

jurisdiction of the courts of the State of New York and agrees that any action or proceeding in

connection with this guaranty shall be brought in New York County.

Dated: __, 2008
Dated: __» 2008
Dated: __, 2008
Dated: __, 2008
Dated: __, 2008

Dated; 2 2008

Dated: _.» 2008

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Mary M. Spencer

 

Mary M. Spencer as named Executrix
of the Estate of Sash A. Spencer

HOLDING CAPITAL GROUP, INC.

By:

 

UNIVERSITAS EDUCATION, LLC

By:

 

 

Donna Silva

GRIST MILL CAPITAL, LLC

By:

 

CHARTER OAK TRUST

By:

 

Wayne Bursey, Trustee

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Case 1:11-cv-01590-LTS-HBP Document 700 Filed 02/26/21 Page 70 of 70

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’ AVON, CT 66001 .. BILL SENDER:
UNITED STATES US.

 

 

To RUBY J. RIK CLERK OF COURT —

U.S. DISTRICT COURT, SID.NY; 0. s
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